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      Attorneys for Plaintiff
 6
 7                        UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9
10    CHARLES BISHOP,                          Case No. 13-cv-1852-ABC-AN
11                    Plaintiff,               STIPULATION FOR DISMISSAL
                                               WITH PREJUDICE BETWEEN
12          v.                                 PLAINTIFF AND DEFENDANT
                                               EXPERIAN INFORMATION
13    EXPERIAN INFORMATION                     SOLUTIONS, INC.
      SOLUTIONS, INC.,
14                                             COMPLAINT FILED: NOVEMBER 26, 2013
                      Defendant.
15
16                              STIPULATION OF DISMISSAL
17
           IT IS HEREBY STIPULATED AND AGREED, on this 12th day of August,
18
19   2014, by and between Plaintiff and Defendant Experian Information Solutions, Inc.

20   that pursuant to Fed. R. Civ. P. 41, this action be dismissed with prejudice, with each
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     party to bear her or its own attorney’s fees, costs and expenses incurred.
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28                                                         STIPULATION FOR DISMISSAL
                                                        Case No. SACV 13-cv-1852 ABC-AN


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 2
 3    /s/ Stephanie R. Tatar               /s/ Corey Boyd
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28                                                    STIPULATION FOR DISMISSAL
                                                   Case No. SACV 13-cv-1852 ABC-AN


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